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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                     TRENTON VILLAGE




                                                         Hon. Peter G. Sheridan, U.S.D.J.
 ASSOCIATION OF NEW JERSEY RIFLE &                       Hon. Lois H. Goodman, U.S.M.J.
 PISTOL CLUBS, INC., BLAKE ELLMAN, and
 ALEXANDER DEMBOWSKI
                                                         Docket No. 3:18-cv-10507-PGS-LHG
                 Plaintiffs,

 v.
                                                              DECLARATION OF LUCY P.
 GURBIR GREWAL, in his official capacity as
 Attorney General of New Jersey, PATRICK J.
                                                                     ALLEN
 CALLAHAN, in his official capacity
 as Superintendent of the New Jersey Division of
 State Police, THOMAS WILLIVER, in his official
 capacity as Chief of Police of the Chester Police
 Department, and JAMES B. O’CONNOR, in his
 official capacity as Chief of Police of the Lyndhurst
 Police Department,

                 Defendants.



 I, Lucy P. Allen, am competent to state, and declare the following, based on my personal
 knowledge:

      1.   I am a citizen of the United States and a resident of New York.

      2.   I am over 21 years of age.
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 I.       SCOPE OF ASSIGNMENT

          1.     I have been asked by the Office of the Attorney General of New Jersey to address
 the following issues: (a) the number of rounds of ammunition fired by individuals using a gun in
 self-defense; and (b) weapons used in mass shootings.



 II.      QUALIFICATIONS AND REMUNERATION

       A. Qualifications

          2.     I am a Managing Director of NERA Economic Consulting (“NERA”), a member
 of NERA’s Securities and Finance Practice and Chair of NERA’s Product Liability and Mass
 Torts Practice. NERA provides practical economic advice related to highly complex business
 and legal issues arising from competition, regulation, public policy, strategy, finance, and
 litigation. NERA was established in 1961 and now employs approximately 500 people in more
 than 20 offices worldwide.

          3.     In my over 20 years at NERA, I have been engaged as an economic consultant or
 expert witness in numerous projects involving economic and statistical analysis. I have been
 qualified as an expert and testified in court on various economic and statistical issues relating to
 the flow of guns into the criminal market. I have testified at trials in Federal District Court,
 before the New York City Council Public Safety Committee, the American Arbitration
 Association and the Judicial Arbitration Mediation Service, as well as in depositions.

          4.     I have an A.B. from Stanford University, an M.B.A. from Yale University, and
 M.A. and M. Phil. degrees in Economics, also from Yale University. Prior to joining NERA, I
 was an Economist for both President George H. W. Bush’s and President Bill Clinton’s Council
 of Economic Advisers. My resume with recent publications and testifying experience is included
 as Appendix A.




                                                                                                        1
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    B. Remuneration

        5.      NERA is being compensated for time spent by me and my team at standard billing
 rates and for out-of-pocket expenses at cost. NERA currently bills for my time at $900 per hour.
 NERA’s fees are not in any way contingent upon the outcome of this matter.



 III.   MATERIALS CONSIDERED

          6. In preparing this report, I considered the following materials:

        a) Complaint for Declaratory and Injunctive Relief, filed June 13, 2018 (“Complaint”);

        b) Plaintiffs’ Brief in Support of their Motion for Preliminary Injunction, filed June 21,
             2018;

        c) Declaration of Gary Kleck in Support of Plaintiffs’ Motion for a Preliminary
             Injunction, filed June 21, 2018;

        d) Declaration of James Curcuruto in Support of Plaintiffs’ Motion for a Preliminary
             Injunction, filed June 21, 2018;

        e) Declaration of Scott L. Bach in Support of Plaintiffs’ Motion for a Preliminary
             Injunction, filed June 21, 2018;

        f) Declaration of Alexander Dembowski in Support of Plaintiffs’ Motion for a
             Preliminary Injunction, filed June 21, 2018;

        g) Declaration of Blake Ellman in Support of Plaintiffs’ Motion for a Preliminary
             Injunction, filed June 21, 2018;

        h) Declaration of Daniel L. Schmutter in Support of Plaintiffs’ Motion for a Preliminary
             Injunction, filed June 21, 2018;

        i) Order Granting Preliminary Injunction, dated June 29, 2017, and Expert Witness
             Rebuttal of Dr. Gary Kleck, dated November 3, 2017, in Virginia Duncan, et al., v.
             Xavier Becerra, et al.;




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       j) NRA Institute for Legislative Action, Armed Citizen Stories,
          https://www.nraila.org/gun-laws/armed-citizen.aspx, last accessed May 28, 2017, and
          supporting news stories for the incidents obtained through Factiva and Google
          searches;

       k) Claude Werner, “The Armed Citizen – A Five Year Analysis,”
          http://gunssaveslives.net/self-defense/analysis-of-five-years-of-armed-encounters-
          with-data-tables, accessed January 10, 2014;

       l) News stories on incidents of self-defense with a firearm in the home from Factiva
          between January 2011 and May 2017;

       m) Freedman, David A., and David H. Kaye, “Reference Guide on Statistics,” Reference
          Manual on Scientific Evidence (Washington, D.C.: The National Academies Press,
          3rd ed., 2011), pp. 211-302;

       n) Fisher, Franklin M., “Multiple Regression in Legal Proceedings,” 80 Columbia Law
          Review 702 (1980);

       o) Mother Jones: “US Mass Shootings, 1982-2017: Data From Mother Jones’
          Investigation,” updated October 2, 2017,
          http://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-
          data, accessed October 2, 2017; “A Guide to Mass Shootings in America,” updated
          October 2, 2017, http://www.motherjones.com/politics/2012/07/mass-shootings-map,
          accessed October 2, 2017; “What Exactly is a Mass Shooting,” Mother Jones, August
          14, 2012, http://www.motherjones.com/mojo/2012/08/what-is-a-mass-shooting.
          Additional details for the mass shootings obtained through Factiva and Google
          searches;

       p) Citizens Crime Commission of New York City: “Mayhem Multiplied: Mass Shooters
          and Assault Weapons,” 2016, http://www.nycrimecommission.org/pdfs/CCC-
          MayhemMultiplied-June2016.pdf; “Mass Shooting Incidents in America (1984-
          2012),” http://www.nycrimecommission.org/mass-shooting-incidents-america.php,
          accessed June 1, 2017. Additional details for the mass shootings obtained through
          Factiva and Google searches; and



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          q) Kleck, Gary, “Large-Capacity Magazines and the Casualty Counts in Mass
               Shootings: The Plausibility of Linkages,” 17 Justice Research and Policy 28 (2016).



 IV.      FINDINGS

               A. Number of rounds fired by individuals in self-defense

          7.       Plaintiffs claim the banned “large-capacity magazines” (which are magazines
 capable of holding more than ten rounds) are commonly used in the home for self-defense.1

          8.       Analysis of data from the NRA Institute for Legislative Action, as well as my
 own study of news reports on incidents of self-defense with a firearm, indicates that it is rare for
 a person, when using a firearm in self-defense, to fire more than ten rounds. The NRA maintains
 a database of “Armed Citizen” stories describing private citizens who have successfully
 defended themselves, or others, using a firearm (“NRA Armed Citizen database”). According to
 the NRA, the “Armed Citizen” stories “highlight accounts of law-abiding gun owners in America
 using their Second Amendment rights to defend self, home and family.”2 Although the
 methodology used to compile the NRA Armed Citizen database of stories is not explicitly
 detailed by the NRA, and the database itself is not readily replicable, the NRA Armed Citizen
 database was the largest collection of accounts of citizen self-defense compiled by others that I
 was able to find. In light of the positions taken by the entity compiling the data, I would expect
 that any selection bias would be in favor of stories that put use of guns in self-defense in the best
 possible light. In addition to analyzing incidents in the NRA Armed Citizen database (2011
 through May 2017), I performed my own systematic, scientific study of news reports on
 incidents of self-defense with a firearm in the home, covering the same time period.

          9.       My team and I performed an analysis of incidents in the NRA Armed Citizen
 database that occurred between January 2011 and May 2017. For each incident, the city/county,
 state, venue (whether the incident occurred on the street, in the home, or elsewhere) and the


 1
     Complaint, ¶¶37,42,44,51.
 2
     NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-citizen/, last
     accessed May 28, 2017.



                                                                                                                  4
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 number of shots fired were tabulated.3 The information was gathered for each incident from both
 the NRA synopsis and, where available, an additional news story. An additional news story was
 found for over 95% of the incidents in the NRA Armed Citizen database.

          10.      According to this analysis of incidents in the NRA Armed Citizen database,
 defenders fired 2.2 shots on average. Out of 736 incidents, there were two incidents (0.3% of all
 incidents), in which the defender was reported to have fired more than 10 bullets. In 18.2% of
 incidents, the defender did not fire any shots, and simply threatened the offender with a gun. For
 incidents occurring in the home (56% of total), defenders fired an average of 2.1 shots, and fired
 no shots in 16.1% of incidents.4 The table below summarizes these findings:




 3
     The following incidents were excluded from the analysis: (1) duplicate incidents, (2) wild animal attacks, and (3)
     one incident where the supposed victim later pleaded guilty to covering up a murder. When the exact number of
     shots fired was not specified, we used the average for the most relevant incidents with known number of shots.
     For example, if the story stated that “shots were fired” this would indicate that at least two shots were fired and
     thus we used the average number of shots fired in all incidents in which two or more shots were fired and the
     number of shots was specified.
 4
     A separate study of incidents in the NRA Armed Citizen database for an earlier period (the five year period from
     1997 through 2001) found similar results. Specifically, this study found that, on average, 2.2 shots were fired by
     defenders and that in 28% of incidents of armed citizens defending themselves the individuals fired no shots at
     all. See, Claude Werner, “The Armed Citizen – A Five Year Analysis,” http://gunssaveslives.net/self-
     defense/analysis-of-five-years-of-armed-encounters-with-data-tables, accessed January 10, 2014.


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                    Number of Shots Fired in Self-Defense
           Based on NRA Armed Citizen Incidents in the United States
                         January 2011 - May 2017

                                                                Shots Fired by Individual in Self-Defense

                                                                      Overall                Incidents in Home


       Average Number of Shots Fired                                        2.2                          2.1


       Number of Incidents with No Shots Fired                             134                           66
       Percent of Incidents with No Shots Fired                         18.2%                        16.1%


       Number of Incidents with >10 Shots Fired                               2                            2
       Percent of Incidents with >10 Shots Fired                         0.3%                         0.5%

     Notes and Sources:
       Data from NRA Armed Citizen database covering 736 incidents (of which 411 were in the home) from
       January 2011 through May 2017. Excludes duplicate incidents, wild animal attacks and one incident where
       the supposed victim later pleaded guilty to covering up a murder.


        11.       We also performed the same analysis of the NRA Armed Citizen database limited
 to incidents that occurred in the state of New Jersey. According to this analysis, defenders in
 New Jersey fired 2.2 shots on average. Out of 6 incidents, there were no incidents in which the
 defender was reported to have fired more than 10 bullets.

        12.       In addition to our analysis of incidents in the NRA Armed Citizen database, we
 performed a systematic, scientific study of news reports on incidents of self-defense with a
 firearm in the home, covering the same time period used in our analysis of the NRA Armed
 Citizen database.

        13.       To identify relevant news stories to include in our analysis, we performed a
 comprehensive search of published news stories using Factiva, an online news reporting service
 and archive owned by Dow Jones, Inc. that aggregates news content from nearly 33,000 sources.
 The search covered the same period used in our analysis of incidents in the NRA Armed Citizen
 database (January 2011 to May 2017). The search identified all stories that contained the
 following keywords in the headline or lead paragraph: one or more words from “gun,” “shot,”


                                                                                                                 6
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 “shoot,” “fire,” or “arm” (including variations on these keywords, such as “shooting” or
 “armed”), plus one or more words from “broke in,” “break in,” “broken into,” “breaking into,”
 “burglar,” “intruder,” or “invader” (including variations on these keywords) and one or more
 words from “home,” “apartment,” or “property” (including variations on these keywords).5 The
 region for the Factiva search was set to “United States.” The search returned approximately
 35,000 stories for the period January 2011 to May 2017.6

            14.    Using a random number generator, a random sample of 200 stories was selected
 for each calendar year, yielding 1,400 stories in total.7 These 1,400 stories were reviewed to
 identify those stories that were relevant to the analysis, i.e., incidents of self-defense with a
 firearm in or near the home. This methodology yielded a random selection of 200 news stories
 describing incidents of self-defense with a firearm in the home out of a population of
 approximately 4,800 relevant stories. Thus, we found that out of the over 70 million news stories
 aggregated by Factiva between January 2011 and May 2017, approximately 4,800 news stories
 were on incidents of self-defense with a firearm in the home. We analyzed a random selection of
 200 of these stories.

            15.    For each news story, the city/county, state and number of shots fired were
 tabulated. When tabulating the number of shots fired, we used the same methodology as we used
 to analyze stories in the NRA Armed Citizen database.8 We then identified other stories
 describing the same incident on Factiva based on the date, location and other identifying
 information, and recorded the number of times that each incident was covered by Factiva news
 stories.


 5
     The precise search string used was: (gun* or shot* or shoot* or fire* or arm*) and (“broke in” or “break in” or
     “broken into” or “breaking into” or burglar* or intrud* or inva*) and (home* or “apartment” or “property”). An
     asterisk denotes a wildcard, meaning the search includes words which have any letters in place of the asterisk.
     For example, a search for shoot* would return results including “shoots,” “shooter” and “shooting.” The search
     excluded duplicate stories classified as “similar” on Factiva.
 6
     We compared a sample of stories in the NRA Armed Citizen database to the Factiva search and found that the
     Factiva search contained all of the NRA stories with the exception of those published by sources not tracked by
     Factiva.
 7
     The random numbers were generated by sampling with replacement.
 8
     When the exact number of shots fired was not specified, we used the average for the most relevant incidents with
     known number of shots. For example, if the story stated that “shots were fired” this would indicate that at least
     two shots were fired and thus we used the average number of shots fired in all incidents in which two or more
     shots were fired and the number of shots was specified.


                                                                                                                       7
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          16.      According to our study of a random selection from approximately 4,800 relevant
 stories on Factiva describing incidents of self-defense with a firearm in the home, the average
 number of shots fired per story was 2.61. This is not a measure of the average shots fired per
 incident, however, because the number of stories covering an incident varies, and the variation is
 not independent of the number of shots fired. We found that there was a statistically significant
 relationship between the number of shots fired in an incident and the number of news stories
 covering an incident.9 We found that on average the more shots fired in a defensive gun use
 incident, the greater the number of stories covering an incident. For example, as shown in the
 table below, we found that incidents in Factiva news stories with zero shots fired were covered
 on average by 1.8 news stories, while incidents with six or more shots fired were covered on
 average by 10.4 different news stories.




 9
     Based on a linear regression of the number of news stories as a function of the number of shots fired, the results
     were statistically significant at the 1% level (more stringent than the 5% level commonly used by academics and
     accepted by courts. See, for example, Freedman, David A., and David H. Kaye, “Reference Guide on Statistics,”
     Reference Manual on Scientific Evidence (Washington, D.C.: The National Academies Press, 3rd ed., 2011), pp.
     211-302, and Fisher, Franklin M., “Multiple Regression in Legal Proceedings,” 80 Columbia Law Review 702
     (1980).)


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             Average Number of News Stories by Number of Shots Fired
            In Factiva Stories on Incidents of Self-Defense with a Firearm
                               January 2011 - May 2017

                                Number of Shots Fired                      Average Number
                                   By Defender                             of News Stories


                                                    0                                   1.8

                                              1 to 2                                    2.8

                                              3 to 5                                    3.8

                                         6 or more                                    10.4

             Notes and Sources:
                Based on news stories describing defensive gun use in a random selection of Factiva stories between
                2011 and May 2017 using the search string: (gun* or shot* or shoot* or fire* or arm*) and ("broke
                in" or "break in" or "broken into" or "breaking into" or burglar* or intrud* or inva*) and (home* or
                "apartment" or "property"), with region set to "United States" and excluding duplicate stories classified
                as "similar" on Factiva. Methodology for tabulation of shots fired as per footnote 8.


            17.        After adjusting for this disparity in news coverage, we find that the average
  number of shots fired per incident covered is 2.34.10 Note that this adjustment does not take into
  account the fact that some defensive gun use incidents may not be picked up by any news story.
  Given the observed relationship that there are more news stories when there are more shots fired,
  one would expect that the incidents that are not written about would on average have fewer shots
  than those with news stories. Therefore, the expectation is that these results, even after the




  10
       The adjustment reflects the probability that a news story on a particular incident would be selected at random
       from the total population of news stories on incidents of self-defense with a firearm in the home. The formula
       used for the adjustment is:

            ∑

                   ∑


       where:
        = random selection of news stories on incidents of self-defense with a firearm in the home
         = number of search results on Factiva in the calendar year of incident
         = number of news stories covering incident

                                                                                                                            9
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  adjustment, are biased upward (i.e., estimating too high an average number of shots and
  underestimating the percent of incidents in which no shots were fired).

         18.     As shown in the table below, according to the study of Factiva news stories, in
  11.6% of incidents the defender did not fire any shots, and simply threatened the offender with a
  gun. In 97.3% of incidents the defender fired 5 or fewer shots. There were no incidents where the
  defender was reported to have fired more than 10 bullets.


                Number of Shots Fired in Self-Defense in the Home
               Based on Random Selection of News Stories in Factiva
                           January 2011 - May 2017

                      Estimated population of news reports in Factiva                       4,841
                      on self-defense with a firearm in the home

                      Random selection of news reports                                         200

                      Average Number of Shots Fired                                            2.34
                      Median Number of Shots Fired                                             2.03

                      Number of Incidents with No Shots Fired                                    23
                      Percent of Incidents with No Shots Fired                               11.6%

                      Number of Incidents with ≤5 Shots Fired                                  195
                      Percent of Incidents with ≤5 Shots Fired                               97.3%

                      Number of Incidents with >10 Shots Fired                                   0
                      Percent of Incidents with >10 Shots Fired                               0.0%

                 Notes and Sources:
                   Based on news stories describing defensive gun use in a random selection of Factiva
                   stories between 2011 and May 2017 using the search string: (gun* or shot* or shoot*
                   or fire* or arm*) and ("broke in" or "break in" or "broken into" or "breaking into" or
                   burglar* or intrud* or inva*) and (home* or "apartment" or "property"), with region
                   set to "United States" and excluding duplicate stories classified as "similar" on Factiva.
                   Methodology for tabulation of shots fired as per footnote 8. Number of incidents
                   probability-weighted as per footnote 10.


         19.     In sum, an analysis of incidents in the NRA Armed Citizen database, as well as
  our own study of a random sample from approximately 4,800 news stories describing incidents


                                                                                                                10
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  of self-defense with a firearm, indicates that it is rare for a person, when using a firearm in self-
  defense, to fire more than ten rounds.

                  B. Mass shootings

                     1. Use of large-capacity magazines in mass shootings

            20.      We analyzed two sources detailing historical mass shootings: 1) Mother Jones,
  “US Mass Shootings, 1982-2017: Data From Mother Jones’ Investigation,”11 and 2) the Citizens
  Crime Commission of New York City, “Mayhem Multiplied: Mass Shooters and Assault
  Weapons”12 and “Mass Shooting Incidents in America (1984-2012).”13

            21.      The definition of a mass shooting and the period covered differed somewhat for
  each of the sources. The Mother Jones data that we analyzed covers 91 mass shootings from
  1982 to October 2017. Mother Jones includes mass shootings in which a shooter killed four or
  more people in one incident in a public place and excludes crimes involving armed robbery or
  gang violence.14 Starting in January 2013, Mother Jones changed its definition of a mass
  shooting to include instances when a shooter killed three or more people, consistent with a
  change in the federal definition of a mass shooting.15 The Citizens Crime Commission data that
  we analyzed covers 73 mass shootings from 1984 to June 2016. Citizens Crime Commission


  11
       “US Mass Shootings, 1982-2017: Data From Mother Jones’ Investigation,” Mother Jones, updated October 2,
       2017, http://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-data, accessed October
       2, 2017. Note that the October 1, 2017 Las Vegas Strip mass shooting occurred a few days before this analysis
       was performed, and thus, information and statistics available on this mass shooting at the time were preliminary.
       Mother Jones has since updated the data on injuries and fatalities in this mass shooting.

  12
       “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of New York City,
       2016.
  13
       “Mass Shooting Incidents in America (1984-2012),” Citizens Crime Commission of New York City,
       http://www.nycrimecommission.org/mass-shooting-incidents-america.php, accessed June 1, 2017.
  14
       “A Guide to Mass Shootings in America,” Mother Jones, updated October 2, 2017,
       http://www.motherjones.com/politics/2012/07/mass-shootings-map. See also, “What Exactly is a Mass
       Shooting,” Mother Jones, August 14, 2012. http://www.motherjones.com/mojo/2012/08/what-is-a-mass-
       shooting.
  15
       “A Guide to Mass Shootings in America,” Mother Jones, updated October 2, 2017,
       http://www.motherjones.com/politics/2012/07/mass-shootings-map. Note this analysis of the Mother Jones data
       may not match other analyses because Mother Jones periodically updates its historical data.

       The Mother Jones data includes three incidents involving two shooters (Columbine High School, San Bernardino
       and Westside Middle School).


                                                                                                                       11
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  includes mass shootings in which a shooter killed four or more people in a public place and was
  unrelated to another crime (such as robbery or domestic violence).16 We combined the data from
  both sources and searched news stories on each mass shooting to obtain data on shots fired where
  available. See attached Appendix B for a summary of the combined data.17

            22.      Based on the combined data we found that large-capacity magazines (those with a
  capacity to hold more than 10 rounds of ammunition) are often used in mass shootings.
  Magazine capacity is known in 83 out of the 96 mass shootings (86%) considered in this
  analysis. We found that large-capacity magazines were used in the majority of mass shootings
  since 1982 regardless of how mass shootings with unknown magazine capacity are treated. In
  particular, out of 83 mass shootings with known magazine capacity, 54 involved large-capacity
  magazines or 65% of mass shootings with known magazine capacity. Even assuming the mass
  shootings with unknown magazine capacity all did not involve large-capacity magazines, the
  majority of mass shootings involved large capacity magazines (i.e., 54 out of 96 mass shootings
  or 56%).

            23.      The combined data on mass shootings indicates that it is common for offenders to
  fire more than ten rounds when using a gun with a large-capacity magazine in mass shootings. In




  16
       Note that the Citizens Crime Commission data are obtained from two sources. The first source covers 72 mass
       shootings from 1984 to 2016, in which a shooter killed four or more people in a public place and was unrelated
       to another crime (such as robbery or domestic violence). See, “Mayhem Multiplied: Mass Shooters and Assault
       Weapons,” Citizens Crime Commission of New York City, 2016.

       The second source covers 33 mass shootings from 1984 to 2012, in which a shooter killed four or more people
       and the gun used by the shooter had a magazine capacity greater than ten. All but one of the mass shooting
       incidents in the second source are covered by the first, but the combination of the two sources provides
       additional detail, such as the number of shots fired. See, “Mass Shooting Incidents in America (1984-2012),”
       Citizens Crime Commission of New York City, http://www.nycrimecommission.org/mass-shooting-incidents-
       america.php, accessed June 1, 2017.
  17
       Note that questions have been raised about potential bias in the data on mass shootings from Mother Jones. See,
       Order Granting Preliminary Injunction, dated June 29, 2017, and Expert Witness Rebuttal of Dr. Gary Kleck,
       dated November 3, 2017, in Virginia Duncan, et al., v. Xavier Becerra, et al. In particular, Plaintiffs’ expert
       Gary Kleck claimed that the Mother Jones data is biased because it excludes mass shootings that did not involve
       large capacity magazines and only covers incidents where magazine capacity could be determined. Dr. Kleck’s
       criticisms are mistaken, however, and he provides no evidence of any bias. Dr. Kleck did not identify a single
       incident that was excluded from the Mother Jones data that fit their definition of a mass shooting. Furthermore,
       contrary to Dr. Kleck’s claim, the Mother Jones data does include incidents in which magazine capacity was
       unknown, as shown in Appendix B of this report.


                                                                                                                        12
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  particular, in mass shootings that involved use of large-capacity magazine guns, the average
  number of shots fired was 99.18

                     2. Casualties in mass shootings with large-capacity magazine guns
                        compared with other mass shootings

            24.      Based on our analysis of the combined mass shootings data in the past 35 years,
  casualties were higher in the mass shootings that involved large-capacity magazine guns than in
  other mass shootings. In particular, we found an average number of fatalities or injuries of 31 per
  mass shooting with a large-capacity magazine versus 9 for those without.19

                     3. Percent of mass shooters’ guns legally obtained

            25.      The combined data on mass shootings indicates that the majority of guns used in
  mass shootings were obtained legally.20 According to the data, shooters in at least 71% of mass
  shootings in the past 35 years obtained their guns legally (at least 68 of the 96 mass shootings)
  and at least 76% of the guns used in these 96 mass shootings were obtained legally (at least 170
  of the 224 guns).21




  18
       There were 37 mass shootings in which the magazine used was known to be a large capacity magazine and the
       number of shots fired were known.
  19
       An analysis of the mass shootings detailed in an article by Plaintiffs’ expert Gary Kleck yielded similar results
       (21 average fatalities or injuries in mass shootings involving large-capacity magazines versus 8 for those
       without). The article covered 88 mass shooting incidents between 1994 and 2013. See, Kleck, Gary, “Large-
       Capacity Magazines and the Casualty Counts in Mass Shootings: The Plausibility of Linkages,” 17 Justice
       Research and Policy 28 (2016).

  20
       The determination of whether guns were obtained legally is based on Mother Jones reporting.
  21
       Mother Jones did not indicate whether the guns were obtained legally for 10% of mass shootings (9 out of the 91
       mass shootings covered by Mother Jones).



                                                                                                                           13
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 I declare under penalty of perjury under the laws of the United States of America that the
 foregoing facts are true and correct. Executed on this 5th day of July, 201$ in New York, New
 York.




         Lucy P. Allen




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                                                                    Lucy P. Allen
                                                                    Managing Director

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                                                                    New York, New York 10036
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                                                                    lucy.allen@nera.com
    Appendix A                                                      www.nera.com




                                  MANAGING DIRECTOR

   Education
                  YALE UNIVERSITY
                  M.Phil., Economics, 1990
                  M.A., Economics, 1989
                  M.B.A., 1986

                  STANFORD UNIVERSITY
                  A.B., Human Biology, 1981

   Professional Experience
   1994-Present          National Economic Research Associates, Inc.
                         Managing Director. Responsible for economic analysis in the areas of
                         securities, finance and environmental and tort economics.
                         Senior Vice President (2003-2016).
                         Vice President (1999-2003).
                         Senior Consultant (1994-1999).

   1992-1993             Council of Economic Advisers, Executive Office of the President
                         Staff Economist. Provided economic analysis on regulatory and health
                         care issues to Council Members and interagency groups. Shared
                         responsibility for regulation and health care chapters of the Economic
                         Report of the President, 1993. Working Group member of the President’s
                         National Health Care Reform Task Force.

   1986-1988             Ayers, Whitmore & Company (General Management Consultants)
   1983-1984             Senior Associate. Formulated marketing, organization, and overall
                         business strategies including:
                         Plan to improve profitability of chemical process equipment manufacturer.
                         Merger analysis and integration plan of two equipment manufacturers.
                         Evaluation of Korean competition to a U.S. manufacturer.
                         Diagnostic survey for auto parts manufacturer on growth obstacles.
                         Marketing plan to increase international market share for major accounting
                         firm.
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   Summer 1985         WNET/Channel Thirteen, Strategic Planning Department
                       Associate. Assisted in development of company’s first long-term strategic
                       plan. Analyzed relationship between programming and viewer support.

   1981-1983           Arthur Andersen & Company
                       Consultant.     Designed, programmed and installed management
                       information systems. Participated in redesign/conversion of New York
                       State’s accounting system. Developed municipal bond fund management
                       system, successfully marketed to brokers. Participated in President’s
                       Private Sector Survey on Cost Control (Grace Commission). Designed
                       customized tracking and accounting system for shipping company.

   Teaching
   1989- 1992          Teaching Fellow, Yale University
                       Honors Econometrics
                       Intermediate Microeconomics
                       Competitive Strategies
                       Probability and Game Theory
                       Marketing Strategy
                       Economic Analysis

   Publications, Speeches and Conference Papers
         “Snapshot of Recent Trends in Asbestos Litigation: 2018 Update,” (co-author), NERA
         Report, 2018.

         “Trends and the Economic Effect of Asbestos Bans and Decline in Asbestos
         Consumption and Production Worldwide,” (co-author), International Journal of
         Environmental Research and Public Health, 15(3), 531, 2018.

         “Snapshot of Recent Trends in Asbestos Litigation: 2017 Update,” (co-author), NERA
         Report, 2017.

         “Asbestos: Economic Assessment of Bans and Declining Production and
         Consumption,” World Health Organization, 2017.

         “Snapshot of Recent Trends in Asbestos Litigation: 2016 Update,” (co-author), NERA
         Report, 2016.

         “Economic Dimension and Societal Costs and Benefits of Banning Asbestos,”
         presented at the World Health Organization, Regional Office for Europe conference,
         Assessing the Economic Costs of the Health Impacts of Environmental and
         Occupational Factors: The Economic Dimension of Asbestos, Bonn, Germany, 2016.

         “Snapshot of Recent Trends in Asbestos Litigation: 2015 Update,” (co-author), NERA
         Report, 2015.
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         Participant in panel on “Expert Reports and Depositions” at PLI Expert Witness 2014,
         hosted by the Practising Law Institute, New York, New York, 2014.

         “Snapshot of Recent Trends in Asbestos Litigation: 2014 Update,” (co-author), NERA
         Report, 2014.

         “High Frequency Trading --A Primer in 1,800,000 Milliseconds” before the Litigation
         Group at Morrison Foerster, New York, New York, 2014.

         “Snapshot of Recent Trends in Asbestos Litigation: 2013 Update,” (co-author), NERA
         Report, 2013.

         “Asbestos Payments per Resolved Claim Increased 75% in the Past Year – Is This
         Increase as Dramatic as it Sounds? Snapshot of Recent Trends in Asbestos Litigation:
         2012 Update,” (co-author), NERA Report, 2012.

         “Snapshot of Recent Trends in Asbestos Litigation: 2011 Update,” (co-author), NERA
         White Paper, 2011.

         Participant in panel at The Implications of Matrixx, hosted by NERA Economic
         Consulting, New York, New York, 2011.

         “2011 & Beyond–Predicting Mass Tort Litigation: with a Focus on Pharmaceutical
         Torts” presented at Emerging Insurance Coverage and Allocation Issues, hosted by
         Perrin Conferences, New York, New York, 2011.

         Presented recent trends in settlements, predicting settlement amounts, and the use of
         economic analysis at mediation in the “Settlement Trends & Tactics” panel at Securities
         Litigation & Enforcement: Current Developments & Strategies, hosted by the New
         York City Bar, New York, New York, 2010.

         “Snapshot of Recent Trends in Asbestos Litigation: 2010 Update,” (co-author), NERA
         White Paper, 2010.

         “Settlement Trends and Tactics” presented at Securities Litigation During the Financial
         Crisis: Current Development & Strategies, hosted by the New York City Bar, New
         York, New York, 2009.

         “GM and Chrysler Bankruptcies: Potential Impact on Other Asbestos Defendants”
         presented at Asbestos Litigation Conference: A Comprehensive National Overview and
         Outlook, hosted by Perrin Conferences, San Francisco, California, 2009.

         “Snapshot of Recent Trends in Asbestos Litigation,” (co-author), NERA White Paper,
         2009.

         “Emerging Economies and Product Recall -- Are the Claims Coming?” presented at The
         International Reinsurance Summit 2008, Hamilton, Bermuda, 2008.
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                                                                                 Lucy P. Allen


         “China Product Recalls: What’s at Stake and What’s Next,” (co-author), NERA
         Working Paper, 2008.

          “Recent Trends in Securities Litigation” presented at Strategies, Calculations &
         Insurance in Complex Business Litigation, hosted by the Directors Roundtable, New
         York, New York, 2008.

         “The Current Landscape” presented at Mealey's Product Recall Liability Conference:
         Made in China and Beyond, Washington, DC, 2007.

         “China Product Recalls: What's at Stake and What's Next” presented at China Product
         Recalls, sponsored by National Economic Research Associates, New York, New York,
         2007.

         “Damages and Loss Causation in Shareholder Class Actions after Dura” presented at
         Securities Litigation: Emerging Trends in Enforcement and Winning Litigation
         Strategies hosted by the International Quality & Productivity Center, New York, New
         York, 2006.

         “Forecasting Product Liability by Understanding the Driving Forces,” (co-author), The
         International Comparative Legal Guide to Product Liability, 2006.

         “Recent Trends in Securities Class Action Litigation,” presented at The Class Action
         Litigation Summit Program Class Action in the Securities Industry, Washington, D.C.,
         2003.

         “Product Liability Claims Estimation – Four Steps, Four Myths” presented at Standard
         & Poor’s Seminar, New York, New York, 2001.

         “How Bad Can It Be? The Economics of Damages and Settlements in Shareholder
         Class Actions,” Balancing Disclosure and Litigation Risks for Public Companies (Or
         Soon-To-Be Public Companies) Seminar, sponsored by Alston & Bird LLP and RR
         Donnelley Financial, Nashville, Tennessee, 2000.

         “Securities Litigation Reform: Problems and Progress,” Viewpoint, November 1999,
         Issue No. 2 (co-authored).

         “Trends in Securities Litigation and the Impact of the PSLRA,” Class Actions &
         Derivative Suits, American Bar Association Litigation Section, Vol. 9, No. 3, Summer
         1999 (co-authored).

         “Random Taxes, Random Claims,” Regulation, Winter 1997, pp. 6-7 (co-authored).

         “Adverse Selection in the Market for Used Construction Equipment,” presented at the
         NBER Conference on Research in Income and Wealth, Federal Reserve Board, June
         1992.
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   Expert Reports, Depositions & Testimony (4 years)
         Expert Report before the American Arbitration Association in Arctic Glacier U.S.A.,
         Inc., et al. v. Principal Life Insurance Company, 2018.

         Deposition Testimony, Supplemental Expert Report and Expert Report before the
         Supreme Court of the State of New York in Bernstein Liebhard, LLP v. Sentinel
         Insurance Company, Ltd., 2018.

         Expert Report before the District Court for Douglas County, Nebraska in Union Pacific
         Railroad Company v. L.B. Foster Company and CXT Incorporated, 2018.

         Deposition Testimony and Declarations before the United States District Court
         Southern District of New York in Andrew Meyer v. Concordia International Corp., et
         al., 2018.

         Expert Report before the United States District Court Southern District of Iowa in
         Mahaska Bottling Company, Inc., et al. v. Pepsico, Inc. and Bottling Group, LLC, 2018.

         Expert Report before the United States District Court Eastern District of Texas in Alan
         Hall and James DePalma v. Rent-A-Center, Inc., Robert D. Davis, and Guy J. Constant,
         2018.

         Expert Report before the Clark County District Court of Nevada in Round Square
         Company Limited v. Las Vegas Sands, Inc., 2018.

         Deposition Testimony before the United States District Court Southern District of
         California in Virginia Duncan, et al. v. Xavier Becerra, et al., 2018.

         Expert Report and Declaration before the United States District Court Southern District
         of California in Virginia Duncan, et al. v. Xavier Becerra, et al., 2017.

         Deposition Testimony and Expert Report before the United States District Court for the
         Western District of Texas, Austin Division in City of Pontiac General Employees’
         Retirement System v. Dell, Inc., et al,. 2017.

         Deposition Testimony and Expert Report before the United States District Court for the
         Southern District of Texas, Houston Division in In re Willbros Group, Inc. Securities
         Litigation, 2017.

         Declaration before the United States District Court Eastern District of California in
         William Wiese, et al. v. Xavier Becerra, et al., 2017.

         Deposition Testimony and Expert Report before the United States District Court for the
         Southern District of Texas, Houston Division in In re Cobalt International Energy Inc.
         Securities Litigation., 2017.
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         Testimony, Deposition Testimony and Expert Report before the United States District
         Court for the Northern District of Texas, Dallas Division in DEKA Investment GmbH, et
         al. v. Santander Consumer USA Holdings, Inc., et al., 2017.

         Deposition Testimony before the Superior Court of the State of North Carolina for
         Mecklenburg County in Next Advisor, Inc. v. LendingTree, Inc., 2017

         Deposition Testimony and Expert Report before the Supreme Court of the State of New
         York, County of New York in Iroquois Master Fund Ltd., et al. v. Hyperdynamics
         Corporation, 2016.

         Deposition Testimony and Expert Report before the United States District Court for the
         Northern District of Texas, Dallas Division in The Archdiocese of Milwaukee
         Supporting Fund, Inc., et al. v. Halliburton Company, et al., 2016.

         Expert Report before the United States District Court for the Northern District of
         Georgia, Atlanta Division, in In re Suntrust Banks, Inc. ERISA Litigation, 2016.

         Deposition Testimony and Expert Report before the Superior Court of New Jersey,
         Union County, in Syngenta Crop Protection, Inc. v. Insurance Company of North
         America et al., 2015.

         Declaration before the United States District Court Northern District of Georgia, in
         John Noble, et al. v. Premiere Global Services, Inc., et al., 2015.

         Deposition Testimony and Expert Report before the United States District Court Central
         District of California, in Amanda Sateriale, et al. v. RJ Reynolds Tobacco Co. et al.,
         2015.

         Rebuttal Report and Expert Report in the United States of America before the Securities
         and Exchange Commission in Houston American Energy Corp., et al., 2014.

         Testimony, Deposition Testimony and Expert Report before the United States District
         Court for the Northern District of Texas, Dallas Division in The Archdiocese of
         Milwaukee Supporting Fund, Inc., et al. v. Halliburton Company, et al., 2014.

         Deposition Testimony and Expert Report before the United States District Court for the
         Eastern District of Pennsylvania in Power Restoration International, Inc. v. PepsiCo,
         Inc., Bottling Group, LLC, and Frito-Lay Trading Company (Europe), Gmbh, 2014.

         Deposition Testimony and Expert Reports before the United States District Court
         Southern District of New York in In re Lower Manhattan Disaster Site Litigation, 2014.

         Deposition Testimony and Expert Report before the United States District Court
         Southern District of Florida in Atul Kumar Sood, et al. v. Catalyst Pharmaceutical
         Partners Inc., et al., 2014.
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         Declaration before the Superior Court of Gwinnett County State of Georgia in City of
         Riviera Beach General Employees Retirement System, et al. v. Aaron’s Inc., et al.,
         Norfolk County Retirement System, et al. v. Aaron’s Inc., et al., 2014.

         Deposition Testimony, Surrebuttal Report and Expert Report before the United States
         District Court Middle District of Tennessee Nashville Division in Garden City
         Employees’ Retirement System and Central States, Southeast and Southwest Areas
         Pension Fund, et al. v. Psychiatric Solutions, Inc., et al., 2014.

         Declaration before the United States District Court Northern District of California San
         Jose Division in Fyock, et al. v. The City of Sunnyvale, et al., 2014.

         Deposition Testimony and Expert Report before the United States District Court for the
         District of Maryland (Northern Division) in Kolbe, et al. v. O’Malley, et al., 2014.

         Declaration before the United States District Court Northern District of California in
         San Francisco Veteran Police Officers Association, et al. v. The City and County of San
         Francisco, et al., 2014.
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                                                                       Appendix B
                                                               Combined Mass Shootings Data
                                                                   1982 – October 2017
                                                                                    Large                                                Total                    Gun(s)         Offenders'
                                                                                     Cap.                                             Fatalities &    Shots      Obtained        Number of
                                                                                               a                 b                b               b                          c
                 Case                     Location           Date       Source      Mag.?          Fatalities        Injuries          Injuries       Fired      Legally?          Guns
                    (1)                      (2)              (3)        (4)             (5)           (6)              (7)               (8)          (9)            (10)          (11)

 1. Las Vegas Strip                 Las Vegas, NV           10/1/2017   MJ           Yes                 58 d            546 d              604 d     1,100 e     Yes                 23
 2. San Francisco UPS               San Francisco, CA       6/14/2017   MJ           Yes                     3                2                  5           -    No                   2
 3. Pennsylvania Supermarket        Tunkhannock, PA          6/7/2017   MJ           No                      3                0                  3       59 f     -                    2
 4. Fiamma Workplace                Orlando, FL              6/5/2017   MJ           -                       5                0                  5           -    -                    1
 5. Ohio Nursing Home               Kirkersville, OH        5/12/2017   MJ           -                       3                0                  3           -    -                    2
 6. Fresno Downtown                 Fresno, CA              4/18/2017   MJ           No                      3                0                  3       16 g     -                    1
 7. Fort Lauderdale Airport         Fort Lauderdale, FL      1/6/2017   MJ           -                       5                6                 11       15 h     Yes                  1
 8. Cascade Mall                    Burlington, WA          9/23/2016   MJ           -                       5                0                  5           -    -                    1
 9. Baton Rouge Police              Baton Rouge, LA         7/17/2016   MJ           Yes                     3                3                  6       43 i     -                    3
10. Dallas Police                   Dallas, TX               7/7/2016   MJ           Yes                     5            11                    16           -    Yes                  3
11. Orlando Nightclub               Orlando, FL             6/12/2016   MJ/CC        Yes              49/50               53            102/103         110 j     Yes                  2
12. Excel Industries                Hesston, KS             2/25/2016   MJ           Yes                     3            14                    17           -    Yes                  2
13. Kalamazoo                       Kalamazoo County, MI    2/20/2016   MJ           -                       6                2                  8           -    Yes                  1
14. San Bernardino                  San Bernardino, CA      12/2/2015   MJ/CC        Yes              14/16               21               35/37        150 k     Yes                  4
15. Planned Parenthood Clinic       Colorado Springs, CO   11/27/2015   MJ           -                       3                9                 12           -    -                    1
16. Colorado Springs                Colorado Springs, CO   10/31/2015   MJ           Yes                     3                0                  3           -    Yes                  3
17. Umpqua Community College        Roseburg, OR            10/1/2015   MJ/CC        Yes               9/10                   9            18/19             -    Yes                  6
18. Chattanooga Military Center     Chattanooga, TN         7/16/2015   MJ/CC        Yes                5/6              2/3                    7/9          -    Yes                  3
19. Charleston Church               Charleston, SC          6/17/2015   MJ/CC        Yes                     9                1                 10           -    Yes                  1
20. Trestle Trail Bridge            Menasha, WI             6/11/2015   MJ           -                       3                1                  4           -    Yes                  2
21. Marysville High School          Marysville, WA         10/24/2014   MJ/CC        Yes                     5                1                  6           -    Stolen               1
22. Isla Vista                      Santa Barbara, CA       5/23/2014   MJ           Yes                     6            13                    19       50 l     Yes                  3
23. Fort Hood                       Fort Hood, TX            4/3/2014   MJ           -                       3            12                    15           -    Yes                  1
24. Alturas Tribal                  Alturas, CA             2/20/2014   MJ           -                       4                2                  6           -    -                    2
25. Washington Navy Yard            Washington, D.C.        9/16/2013   MJ/CC        No               12/13              8/7                    20           -    Yes                  2



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                                                                       Appendix B
                                                               Combined Mass Shootings Data
                                                                   1982 – October 2017
                                                                                    Large                                                Total                     Gun(s)         Offenders'
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                                                                                               a                 b                b               b                           c
                   Case                    Location          Date       Source      Mag.?          Fatalities        Injuries          Injuries       Fired       Legally?          Guns
                   (1)                        (2)             (3)        (4)             (5)           (6)              (7)               (8)          (9)             (10)          (11)

26. Hialeah                          Hialeah, FL            7/26/2013   MJ/CC        Yes                     7                0                  7       10 m      Yes                  1
27. Santa Monica                     Santa Monica, CA        6/7/2013   MJ/CC        Yes                     6           3/4                9/10         70 n      Yes                  2
28. Federal Way                      Federal Way, WA        4/21/2013   MJ           -                       5                0                  5           -     Yes                  2
29. Upstate New York                 Herkimer County, NY    3/13/2013   MJ           -                       5                2                  7           -     Yes                  1
30. Newtown School                   Newtown, CT           12/14/2012   MJ/CC        Yes                 28                   2                 30      154        Stolen             4/3
31. Accent Signage Systems           Minneapolis, MN        9/27/2012   MJ/CC        Yes                     7           1/2                    8/9      46        Yes                  1
32. Sikh Temple                      Oak Creek, WI           8/5/2012   MJ/CC        Yes                     7                3                 10           -     Yes                  1
33. Aurora Movie Theater             Aurora, CO             7/20/2012   MJ/CC        Yes                 12               70                    82       80        Yes                  4
34. Seattle Café                     Seattle, WA            5/30/2012   MJ/CC        No                      6                1                  7           -     Yes                  2
35. Oikos University                 Oakland, CA             4/2/2012   MJ/CC        No                      7                3                 10           -     Yes                  1
36. Su Jung Health Sauna             Norcross, GA           2/22/2012   MJ           -                       5                0                  5           -     Yes                  1
37. Seal Beach                       Seal Beach, CA        10/14/2011   MJ/CC        No                      8                1                  9           -     Yes                  3
38. IHOP                             Carson City, NV         9/6/2011   MJ/CC        Yes                     5                7                 12           -     Yes                  3
39. Grand Rapids                     Grand Rapids, MI        7/7/2011   CC           Yes                     8                2                 10       10        -                    1
40. Tucson                           Tucson, AZ              1/8/2011   MJ/CC        Yes                     6            13                    19       33        Yes                  1
41. Hartford Beer Distributor        Manchester, CT          8/3/2010   MJ/CC        Yes                     9                2                 11       11        Yes                  2
42. Yoyito Café                      Hialeah, FL             6/6/2010   CC           No                      5                3                  8           9o    -                    -
43. Coffee Shop Police               Parkland, WA          11/29/2009   MJ/CC        No                 4/5              1/0                     5           -     Stolen               2
44. Fort Hood                        Fort Hood, TX          11/5/2009   MJ/CC        Yes                 13            30/32               43/45        214        Yes                  1
45. Binghamton                       Binghamton, NY          4/3/2009   MJ/CC        Yes                 14                   4                 18       99        Yes                  2
46. Carthage Nursing Home            Carthage, NC           3/29/2009   MJ/CC        No                      8           3/2               11/10             -     Yes                  2
47. Atlantis Plastics                Henderson, KY          6/25/2008   MJ/CC        No                      6                1                  7           -     Yes                  1
48. Northern Illinois University     DeKalb, IL             2/14/2008   MJ/CC        Yes                5/6               21               26/27         54        Yes                  4
49. Kirkwood City Council            Kirkwood, MO            2/7/2008   MJ/CC        No                      6                2                  8           -     Stolen               2
50. Westroads Mall                   Omaha, NE              12/5/2007   MJ/CC        Yes                     9           4/5               13/14         14        Stolen               1



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                                                                     Appendix B
                                                             Combined Mass Shootings Data
                                                                 1982 – October 2017
                                                                                  Large                                                Total                    Gun(s)         Offenders'
                                                                                   Cap.                                             Fatalities &    Shots      Obtained        Number of
                                                                                             a                 b                b               b                          c
                   Case                 Location           Date       Source      Mag.?          Fatalities        Injuries          Injuries       Fired      Legally?          Guns
                    (1)                       (2)           (3)        (4)             (5)           (6)              (7)               (8)          (9)            (10)          (11)

51. Crandon                       Crandon, WI             10/7/2007   MJ/CC        Yes                6/7                   1                 7/8      30 p     Yes                  1
52. Virginia Tech                 Blacksburg, VA          4/16/2007   MJ/CC        Yes              32/33            23/17               55/50        176       Yes                  2
53. Trolley Square                Salt Lake City, UT      2/12/2007   MJ/CC        No                      6                4                 10           -    No                   2
54. Amish School                  Lancaster County, PA    10/2/2006   MJ/CC        No                      6                5                 11           -    Yes                  3
55. Capitol Hill                  Seattle, WA             3/25/2006   MJ/CC        Yes                     7                2                  9           -    Yes                  4
56. Goleta Postal                 Goleta, CA              1/30/2006   MJ/CC        Yes                     8                0                  8           -    Yes                  1
57. Red Lake                      Red Lake, MN            3/21/2005   MJ/CC        No                  10              5/6               15/16             -    Stolen               3
58. Living Church of God          Brookfield, WI          3/12/2005   MJ/CC        Yes                7/8                   4            11/12             -    Yes                  1
59. Damageplan Show               Columbus, OH            12/8/2004   MJ/CC        No                      5           7/3                12/8         15 q     Yes                  1
60. Hunting Camp                  Meteor, WI             11/21/2004   CC           Yes                     6                3                  9       20       -                    1
61. Windy City Warehouse          Chicago, IL             8/27/2003   CC           No                      7                0                  7           -    -                    -
62. Lockheed Martin               Meridian, MS             7/8/2003   MJ/CC        Yes                     7                8                 15           -    Yes                  5
63. Navistar                      Melrose Park, IL         2/5/2001   MJ/CC        Yes                     5                4                  9           -    Yes                  4
64. Wakefield                     Wakefield, MA          12/26/2000   MJ/CC        Yes                     7                0                  7       37       Yes                  3
65. Hotel                         Tampa, FL              12/30/1999   MJ/CC        No                      5                3                  8           -    Yes                  2
66. Xerox                         Honolulu, HI            11/2/1999   MJ/CC        Yes                     7                0                  7       28       Yes                  1
67. Wedgwood Baptist Church       Fort Worth, TX          9/15/1999   MJ/CC        Yes                     8                7                 15       30       Yes                  2
68. Atlanta Day Trading           Atlanta, GA             7/29/1999   MJ           -                       9            13                    22           -    Yes                  4
69. Columbine High School         Littleton, CO           4/20/1999   MJ/CC        Yes              13/15               24               37/39        188       No                   4
70. Thurston High School          Springfield, OR         5/21/1998   MJ/CC        Yes                     4            25                    29       50       No                   3
71. Westside Middle School        Jonesboro, AR           3/24/1998   MJ/CC        Yes                     5            10                    15       26       Stolen            9/10
72. Connecticut Lottery           Newington, CT            3/6/1998   MJ/CC        Yes                     5           1/0                    6/5          5    Yes                  1
73. Caltrans Maintenance Yard     Orange, CA             12/18/1997   MJ/CC        Yes                     5                2                  7      144       Yes                  1
74. R.E. Phelon Company           Aiken, SC               9/15/1997   MJ/CC        No                      4                3                  7           -    No                   1
75. Fort Lauderdale               Fort Lauderdale, FL      2/9/1996   MJ/CC        No                      6                1                  7       14 r     Yes                  2



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                                                                         Appendix B
                                                                 Combined Mass Shootings Data
                                                                     1982 – October 2017
                                                                                      Large                                             Total                    Gun(s)         Offenders'
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                                                                                              a                 b                b               b                          c
                 Case                      Location           Date        Source      Mag.?       Fatalities        Injuries          Injuries       Fired      Legally?          Guns
                   (1)                         (2)             (3)          (4)         (5)           (6)              (7)               (8)          (9)            (10)          (11)

76. Piper Technical Center           Los Angeles, CA         7/19/1995    CC           Yes                  4                0                  4           -    -                    -
77. Walter Rossler Company           Corpus Christi, TX       4/3/1995    MJ/CC        No                   6                0                  6           -    Yes                  2
78. Air Force Base                   Fairchild Base, WA      6/20/1994    MJ/CC        Yes             5/6               23               28/29         50 s     Yes                  1
79. Chuck E. Cheese                  Aurora, CO             12/14/1993    MJ/CC        No                   4                1                  5           -    -                    1
80. Long Island Railroad             Garden City, NY         12/7/1993    MJ/CC        Yes                  6            19                    25       30       Yes                  1
81. Luigi's Restaurant               Fayetteville, NC         8/6/1993    MJ/CC        No                   4                8                 12           -    Yes                  3
82. 101 California Street            San Francisco, CA        7/1/1993    MJ/CC        Yes                  9                6                 15       75       No                   3
83. Watkins Glen                     Watkins Glen, NY       10/15/1992    MJ/CC        No                   5                0                  5           -    Yes                  1
84. Lindhurst High School            Olivehurst, CA           5/1/1992    MJ/CC        No                   4            10                    14           -    Yes                  2
85. Royal Oak Postal                 Royal Oak, MI          11/14/1991    MJ/CC        No                   5           5/4                10/9             -    Yes                  1
86. University of Iowa               Iowa City, IA           11/1/1991    MJ/CC        No                   6                1                  7           -    Yes                  1
87. Luby's Cafeteria                 Killeen, TX            10/16/1991    MJ/CC        Yes              24               20                    44      100       Yes                  2
88. GMAC                             Jacksonville, FL        6/18/1990    MJ/CC        Yes              10                   4                 14       14       Yes                  2
89. Standard Gravure Corporation     Louisville, KY          9/14/1989    MJ/CC        Yes                  9            12                    21       21       Yes                  5
90. Stockton Schoolyard              Stockton, CA            1/17/1989    MJ/CC        Yes                  6         29/30               35/36        106       Yes                  2
91. ESL                              Sunnyvale, CA           2/16/1988    MJ/CC        No                   7                4                 11           -    Yes                  7
92. Shopping Centers                 Palm Bay, FL            4/23/1987    MJ/CC        Yes                  6         14/10               20/16         40 t     Yes                  3
93. United States Postal Service     Edmond, OK              8/20/1986    MJ/CC        No               15                   6                 21           -    Yes                  3
94. San Ysidro McDonald's            San Ysidro, CA          7/18/1984    MJ/CC        Yes              22               19                    41      257       Yes                  3
95. Dallas Nightclub                 Dallas, TX              6/29/1984    MJ/CC        Yes                  6                1                  7           -    No                   1
96. Welding Shop                     Miami, FL               8/20/1982    MJ           No                   8                3                 11           -    Yes                  1

                                                              Large Capacity Magazine Average         10.2             20.3                30.6       99.3
                                                          Non-Large Capacity Magazine Average          6.3              2.9                    9.2    22.6




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                                                                                     Appendix B
                                                                             Combined Mass Shootings Data
                                                                                 1982 – October 2017
                                                                                                    Large                                         Total                        Gun(s)        Offenders'
                                                                                                     Cap.                                      Fatalities &        Shots      Obtained       Number of
                                                                                                            a                b            b               b                              c
                   Case                           Location                Date          Source      Mag.?       Fatalities       Injuries       Injuries           Fired      Legally?           Guns
                    (1)                              (2)                   (3)           (4)          (5)           (6)             (7)            (8)              (9)          (10)            (11)

Notes and Sources:
      Data from Mother Jones ("US Mass Shootings, 1982-2017: Data from Mother Jones' Investigation," accessed October 2, 2017) and the Citizens Crime Commission of New York City ("Mayhem
      Multiplied: Mass Shooters and Assault Weapons," 2016, and "Citizens Crime Commission of New York City, Mass Shooting Incidents in America (1984-2012)," accessed June 1, 2017).
      MJ indicates Mother Jones data. CC indicates Citizens Crime Commission of New York City data. If sources differ on data, "/" is added between values. In these instances, values from MJ
      are listed first. Except where noted, all data on shots fired obtained from CC.
 a
      Large capacity magazines are those with a capacity to hold more than 10 rounds of ammunition.
 b
      Offender(s) included in counts of fatalities and injuries.
 c
      The determination of whether guns were obtained legally is based on Mother Jones reporting.
 d
      Based on Mother Jones data accessed July 5, 2018.
 e
      Shots fired from: "Sheriff Says More than 1,100 Rounds Fired in Las Vegas," Las Vegas Review Journal, November 22, 2017
 f
      Shots fired from: "Killer in Supermarket Shooting Posted Chilling Videos Online, Lauding Columbine Massacre," Washington Post , June 9, 2017.
 g
      Shots fired from: "Hate Crime is Suspected After Gunman Kills 3 White Men in Downtown Fresno," Los Angeles Times , April 19, 2017.
 h
      Shots fired from: "Fort Lauderdale Shooting Suspect Appears in Court, Ordered Held Without Bond," Washington Post , January 9, 2017.
  i
      Shots fired from: "Baton Rouge Cop Killer Left Note, Fired At Least 43 Rounds," CNN , July 9, 2017.
  j
      Shots fired from: "'We Thought It Was Part of the Music': How the Pulse Nightclub Massacre Unfolded in Orlando," The Telegraph , June 13, 2016.
 k
      Shots fired from: "San Bernardino Suspects Left Trail of Clues, but No Clear Motive," New York Times , December 3, 2015.
  l
      Shots fired from: "Sheriff: Elliot Rodger Fired 50-plus Times in Isle Vista Rampage," Los Angeles Times , June 4, 2014.
 m
      Shots fired from: "Shooter Set $10,000 on Fire in Hialeah Shooting Rampage," NBC News , July 28, 2013.
 n
      Shots fired from: "Police Call Santa Monica Gunman 'Ready for Battle,'" New York Times , June 8, 2013.
 o
      Shots fired from: "Hialeah Gunman's Rage Over Estranged Wife Leaved 5 Dead," Sun-Sentinel , June 7, 2010.
 p
      Shots fired from: "Small Town Grieves for 6, and the Killer," Los Angeles Times , October 9, 2007.
 q
      Shots fired from: "National Briefing | Midwest: Ohio: Shooter At Club May Have Reloaded," New York Times , January 15, 2005.
 r
      Shots fired from: "5 Beach Workers in Florida are Slain by Ex-Colleague," New York Times , February 10, 1996.
 s
      Shots fired from: "Man Bent On Revenge Kills 4, Hurts 23 -- Psychiatrist Is First Slain In Rampage At Fairchild Air Force Base," The Seattle Times , June 21, 1994.
  t
      Shots fired from: "6 Dead in Florida Sniper Siege; Police Seize Suspect in Massacre," Chicago Tribune , April 25, 1987.

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